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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

CENTRAL STATES, SOUTHEAST AND                              )
SOUTHWEST AREAS PENSION FUND;                              )
and CHARLES A. WHOBREY, as Trustee,                        )
                                                           )      Case No. 25-cv-5618
                      Plaintiffs,                          )
                                                           )      Judge
                      v.                                   )
                                                           )      Magistrate Judge
THE KOSKI CONSTRUCTION COMPANY,                            )
an Ohio corporation; and RESERVE                           )
ENVIRONMENTAL SERVICES, INC.,                              )
an Ohio corporation,                                       )
                                                           )
                      Defendants.                          )

                                               COMPLAINT

           Plaintiffs, Central States, Southeast and Southwest Areas Pension Fund and Charles A.

Whobrey, one of its present trustees, for a cause of action against Defendants allege as follows:

                                      JURISDICTION AND VENUE

           1.         This is an action for collection of withdrawal liability, interest, and penalties

incurred by an employer as a result of a withdrawal from a multiemployer pension plan.

           2.         This action arises under the Employee Retirement Income Security Act of 1974

(“ERISA”), as amended by the Multiemployer Pension Plan Amendments Act of 1980

(“MPPAA”), 29 U.S.C. § 1001 et seq. This Court has jurisdiction over this action under sections

502(e), 502(f), and 4301(c) of ERISA, 29 U.S.C. §§ 1132(e), 1132(f) and 1451(c).

           3.         Venue lies in this Court under sections 502(e)(2) and 4301(d) of ERISA, 29 U.S.C.

§§ 1132(e)(2) and 1451(d), in that the Central States, Southeast and Southwest Areas Pension Fund

(the “Pension Fund”) is administered at its principal place of business in Chicago, Illinois. Venue

is also proper in this Court pursuant to the forum selection clause contained in the Pension Fund’s



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Trust Agreement which designates this district as the appropriate forum for lawsuits to collect

withdrawal liability.

                                                  PARTIES

           4.         The Pension Fund is a multiemployer pension plan within the meaning of sections

3(37) and 4001(a)(3) of ERISA, 29 U.S.C. §§ 1002(37) and 1301(a)(3).

           5.         Plaintiff Charles A. Whobrey is a present trustee and fiduciary of the Pension Fund

within the meaning of section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and he and his fellow

trustees are the plan sponsor of the Pension Fund within the meaning of section 4001(a)(10) of

ERISA, 29 U.S.C. § 1301(a)(10). The Trustees administer the Pension Fund at 8647 West Higgins

Road, Chicago, Illinois.

           6.         Pursuant to sections 502(a)(3) and 4301(a)(1) of ERISA, 29 U.S.C. §§ 1132(a)(3)

and 1451(a)(1), the Trustees, by and through their designated trustee, Charles A. Whobrey, are

authorized to bring this action on behalf of the Pension Fund, its participants, and its beneficiaries

for the purpose of collecting withdrawal liability.

           7.         Defendant The Koski Construction Company (“Koski Construction”) is a

corporation organized under the laws of the State of Ohio.

           8.         Defendant Reserve Environmental Services, Inc. (“Reserve Environmental”) is a

corporation organized under the laws of the State of Ohio.

                                           CLAIM FOR RELIEF

           9.         Plaintiffs hereby reallege and incorporate each allegation made in paragraphs 1

through 8 of this Complaint as though fully set forth herein.

           10.        On or about October 28, 2012, Koski Construction directly or indirectly owned at

least 80% of the total combined voting power of all classes of outstanding stock entitled to vote or




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at least 80% of the total value of outstanding shares of all classes of stock of Reserve

Environmental.

           11.        On or about October 28, 2012, Reserve Environmental and Koski Construction

were a group of trades or businesses under common control (the “Koski Controlled Group”) and

therefore constituted a single employer within the meaning of section 4001(b)(1) of ERISA, 29

U.S.C. § 1301(b)(1), and the regulations promulgated thereunder.

           12.        The Koski Controlled Group is the “employer” for purposes of the determination

and assessment of withdrawal liability under Title IV of ERISA.

           13.        During all relevant times, Koski Construction was bound by collective bargaining

agreements with a certain local union affiliated with the International Brotherhood of Teamsters

under which Koski Construction was required to make contributions to the Pension Fund on behalf

of certain employees.

           14.        The Pension Fund determined that on or about October 28, 2012, the Koski

Controlled Group permanently ceased to have an obligation to contribute to the Pension Fund

and/or permanently ceased all covered operations, thereby effecting a “complete withdrawal” from

the Pension Fund within the meaning of section 4203 of ERISA, 29 U.S.C. § 1383.

           15.        As a result of this complete withdrawal, the Koski Controlled Group incurred joint

and several withdrawal liability to the Pension Fund in the principal amount of $361,152.00, as

determined under section 4201(b) of ERISA, 29 U.S.C. § 1381(b).

           16.        On or about January 17, 2025, the Koski Controlled Group, through Koski

Construction, received a notice and demand for payment of the withdrawal liability issued by the

Pension Fund in accordance with sections 4202(2) and 4219(b)(1) of ERISA, 29 U.S.C. §§ 1382(2)

and 1399(b)(1).




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           17.        On or about February 20, 2025, the Koski Controlled Group, through Koski

Construction, received a notice from the Pension Fund, pursuant to section 4219(c)(5)(A) of

ERISA, 29 U.S.C. § 1399(c)(5)(A), advising that its withdrawal liability payments were past due,

and which forewarned the Koski Controlled Group of the consequences of its failure to pay such

liability.

           18.        The Koski Controlled Group did not timely request review of the withdrawal

liability assessment pursuant to section 4219(b)(2)(A) of ERISA, 29 U.S.C. § 1399(b)(2)(A), and

timely requesting review is a statutory prerequisite to initiating arbitration under section 4221(a)(1)

of ERISA, 29 U.S.C. § 1401(a)(1). Consequently, the amounts demanded by the Pension Fund are

due and owing pursuant to section 4221(b)(1) of ERISA, 29 U.S.C. § 1401(b)(1).

           19.        The Koski Controlled Group failed to make the required withdrawal liability

payments to the Pension Fund and fell into default within the meaning of section 4219(c)(5) of

ERISA, 29 U.S.C. § 1399(c)(5).

           20.        Each of the Defendants, as members of the Koski Controlled Group, are jointly and

severally liable to the Pension Fund for the withdrawal liability.

           WHEREFORE, Plaintiffs request the following relief:

           (a)        A judgment in favor of Plaintiffs, Central States, Southeast and Southwest Areas

Pension Fund and Charles A. Whobrey, as Trustee, and against Defendants, The Koski

Construction Company, and Reserve Environmental Services, Inc., and pursuant to sections

502(g)(2) and 4301(b) of ERISA, 29 U.S.C. §§ 1132(g)(2) and 1451(b), for:

                      (i)     $361,152.00 in withdrawal liability;

                      (ii)    Interest computed and charged at an annualized interest rate equal to two

                              percent (2%) plus the prime interest rate established by JPMorgan Chase




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                              Bank, NA for the fifteenth (15th) day of the month for which interest is

                              charged;

                      (iii)   An amount equal to the greater of interest on the unpaid withdrawal liability

                              or liquidated damages of 20% of the unpaid withdrawal liability; and

                      (iv)    Attorneys’ fees and costs.

           (b)        Post-judgment interest computed and charged on the entire judgment at an

annualized interest rate equal to two percent (2%) plus the prime interest rate established by

JPMorgan Chase Bank, NA for the fifteenth (15th) day of the month for which interest is charged,

compounded annually; and

           (c)        Such further or different relief as this Court may deem proper and just.




                                                             Respectfully submitted,


                                                             /s/ Gabrielle Pilgrim
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May 20, 2025                                                 ATTORNEY FOR PLAINTIFFS




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